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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 JUDY K. GROVE and MARK GROVE,                   )      1:14-cv-01167-SEB-MJD
                                                 )
                        Plaintiffs,              )
                                                 )
        v.                                       )
                                                 )
 KONE, INC.,                                     )
                                                 )
                        Defendant.               )


                         ORDER OF DISMISSAL WITH PREJUDICE

        The parties, by their respective attorneys, having heretofore filed their Agreed Stipulation

 of Dismissal With Prejudice, and the Court having duly considered the same.

        IT IS THEREFORE ORDERED that the above-captioned cause of action be and hereby

 is dismissed, with prejudice, the parties to bear and pay their respective costs without

 reimbursement.

 DATED:              08/24/2015



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